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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



JEROME CORSI et al,

                         Plaintiffs,


                    v.

                                                         Civil Action No. 19-cv-1573-TJK
MICHAEL CAPUTO et al,

                         Defendants.




   DEFENDANT MICHAEL CAPUTO’S MOTION TO DISMISS THE COMPLAINT
   PURSUANT TO RULE 12(b)(2) FOR LACK OF PERSONAL JURISDICTION AND
             RULE 12(b)(6) FOR FAILURE TO STATE A CLAIM

        Michael Caputo, defendant in the above-captioned action, by and through his attorney,

Stephen C. Leckar, hereby moves this Honorable Court to dismiss the Complaint for lack of

personal jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2), and for failure to state a claim for

which relief can be granted pursuant to Fed. R. Civ. P. 12(b)(6).

Dated: June 6, 2019

       Respectfully submitted,

                                                              Respectfully submitted,

                                                              /s/ Stephen C. Leckar
                                                              Stephen C. Leckar
                                                              Kalbian Hagerty LLP
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                               CERTIFICATE OF SERVICE

I hereby certify that on June 6, 2019, I electronically filed the foregoing with the Clerk of Court
using CM/ECF. I also certify that the foregoing document is being served on this day on all
counsel of record or pro se parties identified on the attached service list in the manner specified,
either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other
authorized manner for those counsel or parties who are not authorized to receive electronically
Notice of Electronic filing.

                                                             Respectfully submitted,

                                                             /s/ Stephen C. Leckar
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